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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION
  AARON COATES, pro se,                           )
                                                  )
          Plaintiff,                              )
                                                  )
          v.                                      )   Case No. 3:18-CV-574 JD
                                                  )
  VALEO FINANCIAL ADVISORS, LLC,                  )
  et al.,                                         )
                                                  )
          Defendants.                             )


                                     OPINION AND ORDER

       Plaintiff Aaron Coates, proceeding pro se, has filed a 51-page, 228-paragraph prolix

complaint pertaining to his resignation from Valeo Financial Advisors in late 2014 and a state

court lawsuit that followed. The thirty-six named defendants include state court judges and court

personnel, a former Indiana state legislator, a local university and its president, Valeo, the law

firm that represented it in the state court action, the firm’s attorneys, paralegals, and even the

wife of one of its partners, just to name a few. Coates mainly claims that Defendants conspired

against him in violation of the federal Racketeer Influenced and Corrupt Organizations Act

(“RICO”), 18 U.S.C. §§ 1962, 1964. He also alleges several state law unfair competition claims,

mixed with a hodge-podge of forgery, obstruction of justice, civil rights, and due process

allegations aimed at various parties.

       The Defendants have filed several motions to dismiss this complaint, and those motions

are ripe for review. For the reasons stated herein, the Court will dismiss Coates’s complaint in its

entirety, but with leave to amend.




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                                 RELEVANT ALLEGATIONS

       Coates’s story begins with his 2014 resignation from Valeo, where he had worked as a

financial advisor since September 2009. Following his departure, Valeo sought to assess a

compensation penalty on Coates for violating provisions of his employment agreement. Coates

resisted and so Valeo filed a lawsuit against him in Marion County (Indiana) Superior Court.

Valeo was represented in this action by the law firm Hoover Hull. Shortly after the lawsuit

began, Valeo successfully sought to have the case transferred to a different judge, and Judge

Heather Welch was randomly assigned, setting off a fantastical conspiracy theory that purports to

explain why Coates ultimately did not prevail.

       First, the transfer to Judge Welch, in Coates’s eyes, poisoned his chances. Judge Welch is

a graduate of Valparaiso University Law School, which had been censored by the American Bar

Association and announced its plans to close around the time of Valeo’s lawsuit. Coates alleges

that, because Judge Welch likely aspires to a higher judicial position, the fact that she graduated

from a censored law school could reflect poorly on her in the eyes of a judicial selection

committee, and so she desired to gain influence with individuals who could stop the school’s

closing. Conveniently, shortly after Judge Welch took over Valeo’s lawsuit, Hoover Hull hired

Valparaiso University’s president’s daughter as an associate attorney. This connection allegedly

compromised Judge Welch’s judicial independence in favor of her desire to keep the law school

open for the sake of her own reputation and future job prospects. According to Coates, she

consequently allowed Hoover Hull’s attorneys to draft her orders in Valeo’s favor and abused

Indiana’s Rules of Trial Procedure to keep Coates from transferring the litigation to a different

judge. Valeo eventually secured judgment against Coates.




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        Coates additionally alleges that, during the pendency of the state court action, Valeo

induced Gibson Insurance Agency to pump Coates for information about his legal position by

funneling business toward Gibson. He also claims that the wife of one of Hoover Hull’s partners

arranged for then-state legislator David Ober to land the job as the head of the Indiana Utility

Regulatory Commission. In exchange, Ober sponsored a piece of legislation that strengthened

Valeo’s case against Coates. Coates further maintains that court staff at both the trial and

appellate levels torpedoed his attempts to appeal by forging court records to his detriment. The

Court could go on, but this is enough to convey the tenor of Coates’s complaint. Basically, he

believes that every person or entity to even have tangentially come into contact with his case

conspired with one another to sabotage it.

                                             STANDARD

        In reviewing a motion to dismiss for failure to state a claim upon which relief can be

granted under Federal Rule of Civil Procedure 12(b)(6), the Court construes the complaint in the

light most favorable to the plaintiff, accepts the factual allegations as true, and draws all

reasonable inferences in the plaintiff’s favor. Reynolds v. CB Sports Bar, Inc., 623 F.3d 1143,

1146 (7th Cir. 2010).1 A complaint must contain only a “short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). That statement must

contain sufficient factual matter, accepted as true, to state a claim for relief that is plausible on its

face, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), and raise a right to relief above the speculative

level. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). However, a plaintiff’s claim need

only be plausible, not probable. Indep. Trust Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930,

935 (7th Cir. 2012). Evaluating whether a plaintiff’s claim is sufficiently plausible to survive a

                                                            
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   Several Defendants premised their motions to dismiss on other Rule 12(b) grounds as well, but for the
purposes of this Order, the Court need only discuss the framework of Rule 12(b)(6).

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motion to dismiss is “‘a context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.’” McCauley v. City of Chicago, 671 F.3d 611, 616 (7th

Cir. 2011) (quoting Iqbal, 556 U.S. at 678).

                                             DISCUSSION

        Again, Coates’s allegations touch on a number of claims, such as RICO, unfair

competition, unspecified constitutional violations, etc. None of his claims that seek to invoke the

Court’s original jurisdiction, however, satisfy the pleading requirements articulated above.

Because of this, the Court will dismiss the instant complaint, without prejudice.

A.      RICO

        To state a claim for a RICO violation, Coates must allege sufficient facts to support each

of the following elements: (1) conduct (2) of an enterprise (3) through a pattern (4) of

racketeering activity. Sedima v. Imrex Co., 473 U.S. 479, 496 (1985) (footnote omitted); Goren

v. New Vision Int’l, Inc., 156 F.3d 721, 727 (7th Cir. 1998). The Court need not parse the

complaint for facts applicable to each of these elements, however, because Coates has failed to

adequately allege continuity2, or a pattern of racketeering.

        In order to satisfy this element, “the alleged acts of wrongdoing must not only be related,

but must ‘amount to or pose a threat of continued criminal activity.’” Gamboa v. Velez, 457 F.3d

703, 705 (7th Cir. 2006) (quoting H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989)). “This

is true whether the misconduct at issue is considered a ‘close-ended’ scheme (a completed

scheme that, by its duration, can carry an implicit threat of future harm) or ‘open-ended’ scheme

(a scheme that, by its intrinsic (e.g., business-as-usual) nature, threatens repetition and thus

future harm).” Id. at 705-06 (citing Roger Whitmore’s Auto. Servs., Inc. v. Lake County, 424 F.3d

                                                            
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   The term “continuity” has been used in the relevant caselaw as a proxy for frequent, habitual criminal
conduct. See Pizzo v. Bekin Van Lines Co., 258 F.3d 629, 633 (7th Cir. 2001).

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659, 672-74 (7th Cir. 2005)). It follows that “isolated instances of criminal behavior, not

presenting at least some threat of future harm” cannot meet the continuity requirement. Id. at

706.

       Here, it appears that Coates contemplates a closed-ended pattern, because by now, the

alleged racketeers have succeeded in defeating his state court case and any related appeal. See

Antonacci v. City of Chicago, 640 Fed. App’x 553, 557 (7th Cir. 2016) (characterizing plaintiff’s

alleged pattern as closed-ended where he claimed RICO defendants engaged in a conspiracy to

sabotage his past state court lawsuit against a former employer). But despite the limited

boundaries of his alleged conspiracy, Coates’s complaint lacks any basis to suggest misconduct

beyond the one state court lawsuit, nor does it otherwise indicate that the Defendants “have

repeated or will repeat their alleged unlawful behavior.” Gamboa, 457 F.3d at 709 (“[W]hen, as

here, a complaint explicitly presents a distinct and non-reoccurring scheme with a built-in

termination point and provides no indication that the perpetrators have engaged or will engage in

similar misconduct, the complaint does not sufficiently allege continuity for [RICO] purposes.”);

see also Olive Can Co. v. Martin, 906 F.2d 1147, 1151 (7th Cir. 1990) (granting summary

judgment for defendants in part because “the undisputed evidence” showed that “the scheme …

had a natural ending with no threat of continued criminal activity”). This continuity requirement

applies even if the purported scheme “takes several years to unfold, involves a variety of

criminal acts, and targets more than one victim.” Gamboa, 457 F.3d at 709. Here, the entire

alleged scheme lasted slightly more than three years (from Valeo’s filing of the lawsuit through

the appellate court’s consideration) and targeted only Coates. The Seventh Circuit has

“repeatedly found that the combination of such a short period with only a single victim of a




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single scheme is insufficient as a matter of law.” Antonacci, 640 Fed. App’x at 558 (citing

Gamboa, 457 F.3d at 709-710 (collecting cases)).3

        Because Coates’s complaint presents a distinct and non-reoccurring scheme with a built-

in termination point, yet fails to indicate that the Defendants have engaged or will continue to

engage in similar conduct, his RICO allegations must be dismissed.

B.      Miscellaneous Federal Claims

        Coates additionally inserts bare references to violations of “due process” and “civil

rights” in his complaint, but slapping a complaint with these labels, without more, does not even

remotely suffice to state a claim for relief. Notably, Coates does not identify which of his civil

rights were violated, nor does he explain how Defendants violated those rights. The same is true

for his references to due process; he explains nowhere in the complaint how his due process

rights were violated. These claims will be dismissed. See Iqbal, 556 U.S. at 678 (holding a

complaint must contain enough information to raise a right to relief beyond a speculative level);

Twombly, 550 U.S. at 556 (holding “labels or conclusions” do not suffice to state a claim for

relief); see also Bradley v. Sabree, Case No. 15-cv-1384, 2016 WL 1090565, at *7 (E.D. Wis.

Mar. 18, 2016) (dismissing complaint where plaintiff merely referenced “due process” and “civil

rights” without explaining how defendants violated those rights).

        Coates also alleges “obstruction of justice” twice in his complaint. To the extent he seeks

to assert a federal private cause of action based on the Marion County Prosecutor’s decision not

to act on the “Claim of Crime” Coates submitted [DE 1 ¶¶ 222-28], he cannot do so. See Perkins

v. Lewis, No. 06-CV-2177, 2007 WL 1118723, at *7 (C.D. Ill. Apr. 10, 2007) (citing

                                                            
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   While the scheme alleged in Antonacci lasted only 21 months, 640 Fed. App’x at 558, the cases it refers
to involve dismissal of RICO claims spanning years longer than the conspiracy alleged by Coates. See,
e.g., Gamboa, 457 F.3d 703 (dismissing RICO claim predicated on alleged illegal conduct spanning five
years).

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Diamond v. Charles, 476 U.S. 54, 64-65 (1986) (holding that private citizens cannot compel

enforcement of criminal law)).4 Alternatively, if Coates is trying to invoke 42 U.S.C. § 1985(2)

(providing cause of action for conspiracy to interfere with civil rights based on obstruction of

justice), he cannot proceed without alleging some class-based animus on the part of Defendants.

Williams v. St. Joseph Hosp., 629 F.2d 448, 451 (7th Cir. 1980) (“[Section 1985] is applicable

only where there is ‘some racial, or perhaps otherwise class-based, invidiously discriminatory

animus behind the conspirators’ action.’”) (quoting Griffin v. Breckenridge, 403 U.S. 88, 102

(1971)).

        A final word on Coates’s federal claims (including RICO). In responding to Defendants’

motions to dismiss, Coates does not even attempt to defend against the arguments that his RICO,

constitutional, and obstruction of justice claims should all be dismissed pursuant to Rule

12(b)(6). [DE 103] Several of the Defendants explicitly raised these arguments in their briefing,

and Coates’s failure to respond signals forfeiture. See Boogaard v. Nat’l Hockey League, 891

F.3d 289, 295 (7th Cir. 2018) (“[A] district court may hold a claim forfeited if a plaintiff fails to

respond to the substance of the defendant’s motion to dismiss.”).

        For these reasons, Coates’s remaining federal claims will be dismissed.

                                             CONCLUSION

        For all the reasons stated herein, the Court DISMISSES Coates’s complaint in its entirety

[DE 1], without prejudice. This Order satisfies Defendants’ motions to dismiss. [DE 34; DE 53;

DE 61; DE 65; DE 69; DE 74; DE 79; DE 86] Furthermore, the Court DENIES all remaining



                                                            
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   Furthermore, the Court notes that the civil actions contemplated by the federal criminal obstruction
statutes are completely inapplicable here. See 18 U.S.C. §§ 1514, 1514A (providing for temporary
restraining orders to protect witnesses in federal prosecutions and actions for retaliation against corporate
whistleblowers, respectively).

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non-dispositive motions related to the current pleadings as moot. [DE 41; DE 43; DE 57; DE 58;

DE 59; DE 104]

       Coates has until April 24, 2019, to file an amended complaint that remedies the

infirmities associated with his federal claims. Alternatively, he may voluntarily dismiss this

action and pursue his state law claims elsewhere. The Court CAUTIONS Coates, however, that

should he take no action within the 30 days afforded to him, the Court intends to dismiss his

federal claims with prejudice and relinquish jurisdiction over his state law claims.

       SO ORDERED.

       ENTERED: March 25, 2019

                                                     /s/ JON E. DEGUILIO
                                              Judge
                                              United States District Court




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